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                         LAW OFFICE OF ANTHONY CECUTTI
                               217 Broadway, Suite 707
                              New York, New York 10007
                                Phone: (212) 619-3730
                                 Cell: (917) 741-1837
                                 Fax: (212) 962-5037
                              anthonycecutti@gmail.com

                                       January 22, 2024


  BY ECF & E-Mail
  The Honorable Ann M. Donnelly
  United States District Court Judge
  Eastern District of New York
  225 Cadman Plaza
  Brooklyn, New York 11201


                  Re:    United States v. Cory Martin, 20 Cr. 549 (AMD)

  Dear Judge Donnelly:

         We represent Cory Martin in the above-referenced matter, having been appointed
  pursuant to the provisions of the Criminal Justice Act (“CJA”), 18 U.S.C. § 3006A.

          Pursuant to the Court’s Order dated August 22, 2023, please find our motions in
  opposition to the Government’s motions in limine, filed January 15, 2024. For the reasons
  set forth below, it is respectfully requested that the Court deny the Government’s motion
  to introduce evidence concerning Mr. Martin’s alleged physical and sexual abuse of CW-
  1 and Mr. Martin’s alleged past participation in financial fraud.

        We respectfully request leave to supplement our response to the Government’s
  motions in limine following the full production of Jencks Act Material (“3500”).

  I.     The Court Should Deny Government Motion in Limine To Introduce “Other
         Acts” Evidence

          The Government seeks to introduce evidence of the following alleged prior bad
  acts: (1) the defendant’s alleged involvement in the victim’s commercial sex work; (2) his
  physical and sexual abuse of CW-1; and (3) his past participation in financial crimes with
  Witness-1. For the following reasons, the Court should deny the Government from
  introducing evidence of (2) and (3).

         A. Applicable Law

         In conspiracy cases, “the government may offer proof of acts not included within
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  the indictment, as long as they are within the scope of the conspiracy.” United States v.
  Bagaric, 706 F.2d 42, 64 (2d Cir. 1983). Accordingly, the uncharged criminal activity does
  not fall within the purview of 404(b) of the Federal Rules of Evidence, “if it arose out of
  the same transaction or series of transactions as the charged offense, or if it is necessary to
  complete the story of the crime on trial. United States v. Carboni, 204 F.3d 39, 44 (2d Cir.
  2000). Where “it is not manifestly clear that the evidence in question is intrinsic proof of
  the charged crime, the proper course is to proceed under Rule 404(b).” United States v.
  Townsend, 2007 U.S. Dist. LEXIS 32639, 2007 WL 1288597, at *1 (S.D.N.Y. May 1,
  2007), aff’d United States v. Mercado, 573 F.3d 138 (2d Cir. 2009).

          Where uncharged criminal activity does not satisfy the standard described in
  Carboni, to be admissible it must meet the requirements under Rule 404(b), which provides
  that: “[e]vidence of other crimes, wrong or acts is not admissible to prove the character of
  a person in order to show that he acted in conformity therewith. It may, however, be
  admissible for other purposes, such as proof of motive, opportunity, intent, preparation,
  plan, knowledge, identity, or absence of mistake or accident.” In Huddleston v. United
  States, 486 U.S. 681, 691-92 (1988), the Supreme Court discussed that the four
  prerequisites for admitting other “bad act” evidence are that the evidence must: (i) be
  offered for a proper purpose as defined in Rule 404(b); (ii) be relevant; (iii) its probative
  value must outweigh its prejudicial effect under Rule 403; and (iv) the trial court must,
  upon request, instruct the jury to consider the evidence only for its limited purpose. See
  also, United States v. Ortiz, 857 F.2d 900, 903 (2d Cir. 1988).

          While taking an “inclusionary approach” to 404(b) evidence (see United States v.
  Roldan-Zapata, 916 F.2d 795, 804 (2d Cir. 1990)), the Second Circuit has nevertheless
  repeatedly warned trial courts that, in determining the admissibility of prior bad acts,
  “caution and judgment are called for.” United States v. Mohel, 604 F.2d 748, 751 (2d Cir.
  1979); United States v. O’Connor, 580 F.2d 38, 43 (2d Cir. 1970); see also, United States
  v. Colon, 880 F.2d 650, 656 (2d Cir. 1989). Additionally, this “inclusionary” approach
  “does not invite the government to offer, carte blanche, any prior act of the defendant in
  the same category of crime.” United States v. McCallum, 584 F.3d 471, 475 (2d Cir. 2009)
  (holding that evidence of prior convictions was “propensity evidence in sheep’s clothing”);
  United States v. LaFlam, 369 F.3d 153, 156 (2d Cir. 2004). Of critical importance,
  “uncharged” crimes evidence cannot be introduced to show a defendant’s criminal
  propensity. See Huddleston, 485 U.S. 681 (1988); United States v. Scott, 677 F.3d 72, 79
  (2d Cir. 2012).

         Should a court find that the first two prongs of Huddleston are satisfied, the court
  must then decide whether the probative value of the “uncharged bad act” evidence is
  substantially outweighed by the danger of unfair prejudice. As the Supreme Court set forth
  in Old Chief v. United States, 519 U.S. 172 (1997), “unfair prejudice” is an “undue
  tendency to suggest decision on an improper basis,” and invokes, as an example, a jury’s
  “generalizing a defendant’s earlier bad act into bad character and taking that as raising the
  odds that he did the later bad act now charged (or, worse, as calling for preventive
  conviction even if he should happen to be innocent momentarily).” 519 U.S. at 180-81.
  The Second Circuit has instructed that the probative-prejudice balancing analysis demands



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  “particularly searching, conscientious scrutiny” in the context of prior crimes evidence
  because such evidence poses a severe risk of unfair prejudice. McCallum, 584 F.3d at 476.
  Indeed, when conducting this balancing, the trial court must remain attentive to the
  potential for “undermin[ing] the fairness of the trial” with “classic, and powerful, evidence
  of propensity.” Id. at 477.

          In this case, evidence of “uncharged bad acts” merits “particularly searching,
  conscientious scrutiny.” Such evidence easily lends itself to generalized reasoning about a
  defendant’s criminal propensity and undermines his presumption of innocence. Despite the
  most careful instructions from the court, jurors are likely to believe that because of such
  “uncharged bad act” evidence, there is a high probability that the defendant is guilty of the
  offenses for which he is on trial. See 1A Wigmore, Evidence § 58.2 (Tillers rev. 1983)
  (stating that, where prior crimes evidence is adduced, “[t]he natural and inevitable tendency
  of the tribunal…is to give excessive weight to the vicious record of crime thus exhibited
  and either allow it to bear too strongly on the present charge or to take the proof of it as
  justifying a condemnation, irrespective of the accused’s guilt of the present charge”).

           Accordingly, “uncharged bad acts” should not be admitted unless a trial court has
  carefully conducted the Rule 403 balancing test required by Huddleston. See, e.g., United
  States v. Salameh, 152 F.3d 88, 110 (2d Cir. 1988) (“To avoid acting arbitrarily, the district
  court must make a ‘conscientious assessment’ of whether unfair prejudice substantially
  outweighs probative value.” (quoting United States v. Birney, 686 F.2d 102, 106 (2d Cir.
  1982)); United States v. Williams, 596 F.2d 44, 51 (2d Cir. 1979) (“District judges must
  carefully scrutinize both the basis for the claimed relevance of [prior crimes] evidence and
  the balance between its probative value and prejudicial effect. The key to a fair trial in
  such cases is careful determination by the trial judge of both issues, particularly the
  latter.”).

           As is true for all evidence, uncharged criminal activity, to be properly admitted,
  must satisfy Federal Rule of Evidence 403. Rule 403 excludes otherwise relevant evidence
  if “the probative value is substantially outweighed by the danger of unfair prejudice,
  confusion of the issues, or misleading the jury, or by considerations of undue delay, waste
  of time, or needless presentation of cumulative evidence.” Fed. R. Evid. 403. The district
  court has broad discretion in considering the exclusion of prior bad act evidence pursuant
  to this rule. See United States v. Gilan, 967 F.2d 776, 780 (2d Cir. 1992). In the context of
  this rule, “[t]he term ‘unfair prejudice’ as to a criminal defendant speaks to the capacity of
  some concededly relevant evidence to lure the fact-finder into declaring guilt on a ground
  different from proof specific to the offense charged.” Old Chief, 519 U.S. at 180 (1997).
  In other words, “unfair prejudice” means “an undue tendency to suggest decision on an
  improper basis, commonly though not necessarily, an emotional one.” Id. (citing Advisory
  Committee Notes on Fed. R. Evid. 403, 28 U.S.C. App. p. 860).

         It is axiomatic that propensity – or “generalizing a defendant’s earlier bad act into
  bad character and taking that as raising the odds that he did the later bad act now charged”
  – constitutes one such improper basis for admission. Old Chief, 519 U.S. at 180; see also
  Fed. R. Evid. 404(b) (prohibiting the admission of evidence of “other crimes, wrongs or



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  acts to prove the character of a person in order to show action in conformity therewith”).
  Further, the risk that evidence will be so misused is at its highest when the prior bad act is
  the same, or very similar, to the bad acts alleged against the defendant in the current
  indictment. See, e.g., United States v. Gotti, 399 F. Supp. 2d 417 (S.D.N.Y. 2005)
  (excluding evidence of uncharged, 20-year-old murder when defendant on trial for double
  homicide and two attempted murders).

          Further, any probative value of such evidence is diminished by the existence of
  other, less prejudicial means of proving the same point. In Old Chief, the Supreme Court
  specified that once the district court had determined that some evidence of a prior bad act
  raised the danger of unfair prejudice, the court should then “evaluate the degrees of
  probative value and unfair prejudice not only for the item in question but for any actually
  available substances as well [because] a judge applying 403 could reasonably apply some
  discount to the probative value of an item when faced with less risky alternative proof
  going to the same point.” Id. at 182-83.

          None of the Government’s proffered evidence of prior uncharged crimes and bad
  acts satisfy the first two prongs of the Huddleston analysis; they are not offered for any
  proper purpose delineated in Rule 404(b)(2), and they are not relevant. Alternatively, even
  assuming arguendo that the proffered evidence satisfies the first two Huddleston prongs,
  the probative value of said evidence in each instance is substantially outweighed by
  prejudicial effect.

         B. The Government’s Proffered Evidence that Mr. Martin Physically and
            Sexually Abused CW-1 Should Be Excluded

          The Government argues that evidence of Mr. Martin’s alleged physical and sexual
  abuse of CW-1 is direct evidence of the murder-for-hire scheme and necessary to complete
  the story of the charged crime. The Government also suggests that it will elicit testimony
  from CW-1 about Mr. Martin’s alleged abuse of CW-1’s children and Ms. Odom.
  However, its muddled motion fails to clearly notice Mr. Martin or the Court of the
  particular instances of abuse it seeks to admit and their connection to the charged crimes.
  Whether it seeks to admit evidence of this nature relating to CW-1, CW-1’s children, Ms.
  Odom or all, and through CW-1 testimony or documents, such evidence should be
  precluded, as it not intrinsic proof of the crimes charged, and any probative value is
  substantially outweighed by its prejudicial effect. This is nothing more than an attempt to
  overwhelm the jury with unsubstantiated collateral evidence of bad character to unduly and
  inappropriately influence them.

          First, this is plainly Rule 404(b) evidence, subject to the Huddleston analysis. This
  uncharged criminal activity did not “ar[i]se out of the same transaction or series of
  transactions as the charged offense,” and it is not “necessary to complete the story of the
  crime on trial.” Carboni, 204 F.3d at 44. It is not intrinsic proof of the charged crimes.
  There is a difference between adding context to the Government’s proof of charges and
  manufacturing a nexus between the charges and alleged domestic violence incidents within
  a consensual adult relationship that predated and postdated the conspiracy. Evidence about



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  alleged abuse in Mr. Martin and CW-1’s relationship would not help the jury in
  understanding the charged crime. Quite the contrary, the proffered evidence would lead to
  a trial-within-a-trial, as Mr. Martin would essentially be required to defend himself against
  a highly inflammatory second set of accusations. This will lead to juror speculation and
  confusion of facts and issues. The jury, upon review of this highly prejudicial evidence,
  will be inclined to convict based upon perceived bad character, violent tendency and
  criminal propensity. CW-1’s extensive involvement in the life insurance scheme and
  ultimate murder and dismemberment of Mr. Odom is not at issue at this trial. Mr. Martin’s
  involvement is at issue. Any evidence of Mr. Martin’s alleged physical and sexual abuse
  of CW-1 is unnecessary for the jury to determine Mr. Martin’s guilt with respect to the
  charged crimes. As such, this evidence falls squarely within the purview of Rule 404(b)
  and must come in, if at all, pursuant to an analysis under the prongs of Huddleston.

          The first prong of Huddleston requires that the evidence be offered for a proper
  purpose under Rule 404(b). The Government makes a number of unimpressive attempts to
  articulate a proper purpose for this evidence. It argues that the evidence “establish[es] the
  development of the relationships of trust among the coconspirators,” but provides no
  analysis and cites to cases that miss the mark. ECF No. 95 at 16. In United States v. Pipola,
  83 F.3d 556 (2d Cir. 1996), the Government sought to admit evidence that the defendant
  and his coconspirators committed uncharged crimes together, to explain the evolution of
  their relationships. In United States v. Everett, 825 F.2d 658 (2d Cir. 1987) and United
  States v. Basciano, No. 03-CR-929 (NGG) at *4 (E.D.N.Y. Feb. 17, 2006), the “other
  crimes” evidence was held admissible to corroborate prosecution testimony, as long as the
  Government could establish a close relationship between the proffered evidence and the
  evidence to be corroborated. Id. at 660. These cases outline entirely different uses of Rule
  404(b) evidence. The Government does not seek to admit other acts evidence in Mr.
  Martin’s case to corroborate cooperating witness testimony. Rather, the Government
  intends to seek the introduction of seemingly unlimited other acts evidence, only by way
  of CW-1’s testimony.

          The Government goes on to argue that the evidence is further admissible to
  establish Mr. Martin’s knowledge, intent, motive, opportunity, lack of accident and
  absence of mistake with respect to the charged offenses, but it does not even try to address
  how any of those purposes might be achieved with the admission of evidence related to
  Mr. Martin’s alleged abuse of CW-1. ECF No. 95 at 17. That is because it serves no
  purpose. The connection between the alleged abuse and the ultimate facts the Government
  must prove beyond a reasonable doubt is far too attenuated, and thereby weakened in
  probative value. In such a case, the admission of “other crimes” evidence is not only
  irrelevant to any consequential trial issue, but it is likely to adhere unfairly to Mr. Martin,
  without the justifying presence of probativeness. Giving CW-1 carte blanche to lodge
  unsubstantiated, unrelated abuse allegations against Mr. Martin will not help the jury make
  their determination as to Mr. Martin’s guilt of the charged conduct.

          If the Court were to find that there is some proper purpose for such evidence, it
  should nevertheless be excluded because it fails the Rule 403 balancing test. No degree of
  care or precautionary instruction could minimize the immense prejudice of such evidence.



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  The primary duty of the jury in this case will be to determine whether the evidence
  describing the acts charged is credible. The explosive allegations concerning uncharged
  abuse of CW-1, whose involvement in Ms. Odom’s murder is not in dispute, do not in any
  way render her testimony pertaining to the charged crimes more persuasive. Unrelated and
  inflammatory mitigating arguments around CW-1’s criminal liability or relative culpability
  in this case serve no purpose at Mr. Martin’s trial.

          This kind of incendiary testimony, portraying Mr. Martin as a violent man, with a
  hatred of women, will result in the jury drawing impermissible inferences of his bad
  character and criminal proclivity. At trial, the Government will present its evidence of Mr.
  Martin’s involvement in a wicked and monstrous crime. When the jury decides Mr.
  Martin’s fate, the law requires that its determination be made without the Government
  tipping the scales with highly prejudicial character evidence.

         C. The Government’s Proffered Evidence that Mr. Martin Engaged in Past
            Financial Fraud with Witness-1 Should Be Excluded

          The Government argues that Witness-1 should be permitted to testify about his past
  participation in “financial fraud” with Mr. Martin. It expects Witness-1 to testify that “he
  and the defendant had previously engaged in financial fraud, or ‘scamming.’” ECF No. 95
  at 18. This uncharged evidence is irrelevant, unduly prejudicial and an attempt to
  demonstrate criminal propensity.

          In this very short motion, the Government again fails to state what specific “other
  acts” evidence it intends to elicit from Witness-1. Without clear details and boundaries,
  Mr. Martin cannot effectively respond, nor can the Court rule. Although it does not
  explicitly indicate this, the Government’s two-sentence analysis suggests that it does seek
  to admit this evidence under Rule 404(b), as prior alleged financial fraud is not direct
  evidence of or inextricably intertwined with the charged crimes. The Government argues
  that the proper purpose for its admission is to explain Mr. Martin and Witness-1’s mutual
  trust, and that it is “necessary to assess Witness-1’s credibility.” ECF No. 95 at 18-19.
  Witness-1 and Mr. Martin are not co-conspirators, and as such, the law it refers to in
  Section II. B. of its motion, regarding evidence admitted to explain “mutual trust” between
  co-conspirators, does not apply. Without any analysis, the Government awkwardly falls
  back on the argument that uncorroborated prior criminal conduct by Mr. Martin should be
  admitted because it demonstrates the relationship and trust between Mr. Martin and the
  witness. There is no reason that other background evidence on Mr. Martin and Witness-1’s
  extended personal relationship cannot be sufficient to achieve the same purpose.

          If Witness-1 is permitted to testify that he and Mr. Martin engaged in financial fraud
  in the past, the jurors’ imaginations would be left to run wild. The world of financial fraud
  is expansive. Admission of such testimony will lead the jurors to believe that Mr. Martin
  has a pattern of engaging in financial fraud—that he is a criminally deceptive person. It is
  highly prejudicial evidence that “easily lends itself to generalized reasoning about [his]
  criminal propensity and thereby undermines the presumption of innocence.” McCallum,
  584 F.3d at 476. In a case with such high stakes, the risk that “others acts” evidence could



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  undermine Mr. Martin’s presumption of innocence cannot be overstated. Evidence of
  “uncharged bad acts” merits “particularly searching, conscientious scrutiny,” and where
  Government has failed to specify what other acts evidence it actually seeks to admit and
  makes little to no effort to provide meaningful analysis as to the evidence’s proper purpose,
  relevance, or probative value, the Court has no choice but to preclude its admission. At
  trial, the Government will proffer direct evidence relevant to the fraud charged in the
  indictment. Allowing Witness-1 to testimony about alleged past “scamming” with Mr.
  Martin will do nothing to help the jury decide a consequential trial issue. It will only serve
  as improper bad character evidence.

          The Huddleston analysis and Rule 403 balancing test were designed with that
  highly prejudicial result in mind. The Government cannot admit propensity evidence in
  sheep’s clothing. The Court should preclude Witness-1 from testifying about alleged past
  financial fraud with Mr. Martin, as jurors will conclude there is a high probability that Mr.
  Martin is guilty of the offenses for which he is on trial.

  II.    Conclusion

         For the reasons set forth above, it is respectfully requested that the Court deny the
  Government’s motions to introduce evidence concerning Mr. Martin’s alleged physical and
  sexual abuse of CW-1 and his alleged past participation in financial fraud with Witness-1.

         We thank the Court for its consideration.



                                                        Respectfully submitted,

                                                                /s/

                                                        Anthony Cecutti
                                                        Kestine Thiele
                                                        Kenneth Montgomery
                                                        Attorneys for Cory Martin




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